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                                  UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF KANSAS

KELLY DEAN BRENDE,                                    )
                                                      )
                                  Plaintiff,          )
                                                      )
v.                                                    )       Case No. 2:15-cv-09711-JAR-TJJ
                                                      )
RELIANCE STANDARD LIFE                                )
INSURANCE COMPANY.                                    )

                                  Defendant.

                   PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

         Plaintiff Kelly Dean Brende, by and through counsel, and for the reasons set forth in the

accompanying Memorandum, hereby move this Court pursuant to Fed. R. Civ. P. 56 for an

Order:

         1. Granting Plaintiff’s Motion for Summary Judgment

         2. Entering Judgment in Plaintiff’s favor against Reliance Standard Life Insurance

            Company

         3. Requiring Reliance Standard Life Insurance Company to pay all disability income

            benefits in an amount equal to the contractual amount of benefits to which Brende

            was entitled.

         4. Awarding Plaintiff’s attorney’s fees pursuant to 29 U.S.C. § 1132(g), prejudgment

            interest on all unpaid benefits that have accrued prior to the date of judgment, and

            costs of this suit.




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                                                              Respectfully submitted,

Date: September 9, 2016                                          s/ Kyle H. Sciolaro

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                                                                s/ Roger M. Driskill
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